       Case 19-17527-amc        Doc 47
                                     Filed 07/07/20 Entered 07/07/20 13:42:50            Desc Main
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                              UNITED STATES BANKRUTPCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE:                                     Chapter 13
       NAGENA EDMOND



                             Debtor               Bankruptcy No. 19-17527-AMC



                                                  ORDER

          AND NOW, upon consideration of the Motion to Dismiss Case filed by William C. Miller, Standing

 Trustee, and after notice and hearing, it is hereby ORDERED that this case is DISMISSED and that any wage

 orders previously entered are VACATED.




                                      _________________________________
                                                  Ashely M. Chan
      Dated: July 7, 2020                          Bankruptcy Judge

William C. Miller, Trustee
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